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                                                                                         J. Erik Connolly
                                                                       71 South Wacker Drive, Suite 1600
                                                                            Chicago, Illinois 60606-4637
                                                                               Direct Dial: 312.624.6348
                                                                                      Fax: 312.767.9192
                                                                             econnolly@beneschlaw.com




                                          January 9, 2025



Hon. Judge Jennifer L. Rochon
Daniel Patrick Moynihan
United States Courthouse
Courtroom 20B
500 Pearl St.
New York, NY 10007-1312

       Re:     Heilbut et al. v. Cassava Sciences, Inc., et al., Case No. 1:24-cv-5948
               Defendants’ Request for a Discovery Stay

Dear Judge Rochon:

        My firm represents Cassava Sciences, Inc. (“Cassava”), Remi Barbier, and Dr. Lindsay
Burns (together, “Defendants”) in the above-captioned case. Today, Defendants filed Motions to
Dismiss the First Amended Complaint, brought by the Dot.com Plaintiffs Adrian Heilbut, Jesse
Brodkin, and Enea Milioris, and the Intervenor Complaint, brought by Intervenor Plaintiffs David
Bredt and Geoffrey Pitt, in their entirety (the “Motions”). Defendants now request a stay of
discovery while this Court considers the Motions. For ease of reference, Defendants will
collectively refer to both groups of plaintiffs as “Plaintiffs.”

        The Court “may, in its discretion, stay discovery” upon “a showing of good cause.”
Romano v. AC360 Media, LLC, No. 20-cv-8988 (LTS) (OTW), ECF No. 51, at 1 (S.D.N.Y. June
3, 2021). This Court routinely finds good cause to stay discovery where a motion to dismiss
“appears not to be unfounded in the law” and is dispositive of the Plaintiff’s claim. Alapaha View
Ltd. v. Prodigy Network, LLC, No. 20-cv-07572 (VSB), 2021 WL 1893316, at *2 (S.D.N.Y. May
10, 2021); see also, e.g., Del Mar TIC I, LLC v. Bancorp Bank, 1:23-CV-08999 (JLR), 2024 WL
1348501, at *1 (S.D.N.Y. Mar. 29, 2024) (Rochon, J.); Press v. Primavera, 1:21-CV-10971 (JLR),
2022 WL 17736916, at *1 (S.D.N.Y. Dec. 16, 2022) (Rochon, J.); Hong Leong Fin. Ltd.
(Singapore) v. Pinnacle Performance Ltd., 297 F.R.D. 69, 72 (S.D.N.Y. 2013).

       The Court has “‘considerable discretion’ in determining whether a stay is warranted.” Del
Mar, 2024 WL 1348501, at *1 (citation omitted). In exercising its discretion, the Court may
consider the following factors, among others: “the breadth of discovery sought, the burden of
responding to it, the prejudice that would result to the party opposing the stay, and the strength of
the pending motion forming the basis of the request for stay.” Id. (citation omitted).

        Defendants can establish good cause to stay discovery here because (1) the Motions have
strong legal bases that, at the very least, are not unfounded in the law; (2) discovery will be broad
and require burdensome motion practice on attorney/client privilege and the work-product



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doctrine; (3) New York state courts would automatically stay discovery while the Motions were
pending; and, (4) Plaintiffs will experience little to no prejudice from a stay.

        Defendants’ Motions have strong legal bases that entirely dispose of Plaintiffs’ claims.
The Motions present substantial arguments for dismissal of all causes of action. See, e.g., Alapaha
View, 2021 WL 1893316, at *2 (granting stay of discovery where defendants’ motion was
dispositive to all elements and “appear[ed] not to be unfounded in the law”) (citation omitted);
accord Press, 2022 WL 17736916, at *2. Plaintiffs bring three counts: an Anti-SLAPP claim, a
malicious prosecution claim, and a conspiracy claim. The Motions arguments against all three are,
at the very least, not unfounded in the law. To the contrary, Defendants’ arguments are likely to
prevail.

       First, state Anti-SLAPP statutes cannot and do not apply to complaints filed in federal
court. New York’s Anti-SLAPP law conflicts with the Federal Rules of Civil Procedure.
Therefore, many courts have held that such statutes cannot form the basis of a defense or
counterclaim in such circumstances. See, e.g., Carroll v. Trump, 590 F. Supp. 3d 575, 582–85
(S.D.N.Y. 2022). Additionally, the Anti-SLAPP claims cannot apply in this litigation because the
Anti-SLAPP statute applies only to “a defendant,” and the Plaintiffs are not “defendants”.
Accordingly, the Anti-SLAPP claims fail.

        Second, the malicious-prosecution claim fails because Plaintiffs do not and cannot plead
several required elements of the tort. Plaintiffs must sufficiently allege that the Defamation Action
was brought “without probable cause” and “with malice;” and that they “suffered interference with
[their] person or property from some provisional remedy.” Levitin v. Miller, No. 92 CIV. 0520
(KMW), 1994 WL 376078, at *3 (S.D.N.Y. July 15, 1994). Defendants had probable cause to
bring the Defamation Action because the suit had plausible merit, demonstrated by the multiple
provisional holdings made by this Court in Cassava’s favor. Additionally, Defendants brought the
Defamation Action without malice; Plaintiffs fail to plead any facts beyond “[c]onclusory or
speculative allegations” which “are insufficient” for a claim of malicious prosecution. Nieves v.
Cty. of Monroe, 761 F. Supp. 2d 48, 52 (W.D.N.Y. 2011). And Plaintiffs fail to plead special
injury, because they allege no actionable harms caused by Defendants. On these three bases, the
Motions dispose of Plaintiffs’ malicious-prosecution claim.

        Third, the intracorporate conspiracy doctrine bars Plaintiffs’ conspiracy claim. Under the
intracorporate conspiracy doctrine, a corporation cannot conspire with its own agents acting under
the scope of their employment. That is exactly what Plaintiffs allege here: Defendants are a
corporation, its former vice president, and its former CEO. All of the acts that Plaintiffs allege
constitute a conspiracy were done within the scope of the individual Defendants’ employments.
This is rudimentary intracorporate conspiracy doctrine.

        Discovery will be broad and burdensome. In the parties’ joint letter (ECF No. 25),
Plaintiffs stated that they intend to discover privileged materials, including all documents disclosed
in government securities proceedings, which would reveal attorneys’ litigation strategy and advice.
Additionally, Plaintiffs intend to depose Cassava’s in-house counsel (who was hired after the
Defamation Action commenced). Plaintiffs’ attempts to circumvent black-letter law will burden
both the Defendants and the Court. Cassava will, appropriately, resist Plaintiffs’ requests for
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privileged information, which will lead to disputes requiring the Court’s time and attention.
Cassava will bear the burden of close review of potentially privileged documents called for by
Plaintiffs’ requests, and expend significant effort redacting and logging privileged materials.
Plaintiffs may then challenge Cassava’s privilege log entries, requiring additional motion practice
and the Court’s further investment of time. And Defendants and the Court will have to engage in
a similar process for depositions: Plaintiffs will seek testimony on privileged communications and
topics, and the parties will have to brief those issues as well. All in all, Defendants and the Court
should expect multiple rounds of briefing on privilege issues over the course of discovery.
Granting the requested stay would prevent such intensive investment of time and expense before
the need for any discovery is potentially obviated by this Court’s ruling on Defendants’ Motions.

        This suit is a lawsuit based on public petition and participation, which would be
subject to an automatic stay in state court. New York state courts automatically stay
proceedings when a defendant files a motion to dismiss a claim that is based on public petition and
participation. N.Y. C.P.L.R. 3211(g). A lawsuit is based on public petition and participation if it
involves the constitutional right to petition. N.Y. Civ. Rights Law § 76-a. The constitutional right
to petition includes the right to access the courts to address grievances, meaning filing lawsuits.
See Elmsford Apartment Assocs., LLC v. Cuomo, 469 F. Supp. 3d 148, 173 (S.D.N.Y. 2020). Here,
Plaintiffs sue Defendants for Cassava’s previous lawsuit against them. That lawsuit, undoubtedly,
was a public petition. Had the plaintiffs filed their state law claims in state court, the court would
be required to stay discovery while considering Defendants’ Motions. But, instead, Plaintiffs
avoid this procedure while still trying to rely on state law claims—one of which, as explained in
the Motions, should not even apply in federal court to a federal complaint. The same reasoning
that would apply in New York court applies here: when there are serious questions about the
validity of a claim, considerations of judicial economy suggest that motions to dismiss should be
resolved before the parties invest substantial time and costs engaging in discovery.

        Plaintiffs will experience little to no prejudice from a discovery stay. A stay of
discovery will change nothing for the Plaintiffs. Their alleged damages are not accumulating, as
they were allegedly sustained during a litigation that is now resolved. And Plaintiffs themselves
have demonstrated no urgency in prosecuting their claims or engaging in discovery. Each of them
requested discovery be stayed in the Defamation Action, and succeeded in preventing that
discovery while their motions to dismiss were pending. See Cassava Scis., Inc. v. Bredt et al., No.
22-cv-9409, ECF No. 132 at 4 n.2 (S.D.N.Y. June 13, 2024). And none of the Plaintiffs raised the
claims asserted here as defenses or counterclaims while the Defamation Action was active. Once
Plaintiffs Heilbut, Brodkin, and Milioris filed their initial Complaint in this matter, following
resolution of the Defamation Action, they made no attempt to serve it. (ECF No. 1). Instead, they
waited 79 days before they finally requested a summons in connection with their First Amended
Complaint (ECF No. 10). Intervenor Plaintiffs David Bredt and Geoffrey Pitt delayed even further,
waiting four months before intervening in this action. (ECF No. 30.) Plaintiffs’ delay in engaging
in discovery regarding the Defamation Action and in asserting their claims against Defendants
demonstrate that they will not be prejudiced by the stay Defendants request.

        For the reasons stated above and for good cause shown, Defendants respectfully request
that the Court grant a motion to stay discovery during the pendency of the Motions. We thank the
Court for its time and attention to this matter.
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                                       Very truly yours,

                                       BENESCH, FRIEDLANDER,
                                        COPLAN & ARONOFF LLP




                                       J. Erik Connolly
